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S. DISTRICT court
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IN THE UNITED STATES DISTRICT CouRT? NOV 20 P § gy

FOR THE DISTRICT OF MARYLAND ogy payee 8
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UNITED STATES OF AMERICA * ay Pome iem |
v: * CRIMINAL NO. (ESL IG Or FEY
KELVIN SAUNDERS, * (Homicide by Motor Vehicle While
. * .Impaired by Alcohol, 18 U.S.C. § 13,
Defendant * Md. Code, Crim. Law. § 2-504;

* Unsafe Operation of a Vehicle, 36
* C.F.R. § 4.22(b)(1))

INDICTMENT

‘COUNT ONE
(Homicide by Motor Vehicle While bnpaired by Alcohol)

The Grand Jury for the District of Maryland charges that:
On or about October 28, 2019, in the District of Turple the defendant,
KELVIN SAUNDERS,
on lands within the special maritime and territorial jurisdiction of the United States, did cause the
death of Victim A as a result of his negligently driving, operating, and controlling a motor

vehicle while impaired by alcohol.

18 U.S.C. § 13
Md. Code, Crim. Law § 2-504
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COUNT TWO
(Unsafe Operation of a Vehicle)

The Grand Jury for the District of Maryland further charges that:
On or about October 28, 2019, in the District of Maryland, the defendant,
KELVIN SAUNDERS,
on lands administered by the National Park Service, did operate a motor vehicle without due care

and at a speed greater than that which is reasonable and prudent considering wildlife, traffic,

weather, road and light conditions and road character.

36 CER. § 4.22(b)(1)

Robert K: Hur hy)
United States Attorney
A TRUE BILL:
SIGNATURE REDACTED Date: November 20, 2019
Foreperson
